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                    UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
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                                       )
  IN RE: JOHNSON & JOHNSON             )
  TALCUM POWDER PRODUCTS               )
  MARKETING, SALES PRACTICES AND )         MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION        )
  ___________________________________ )
                                       )
  This Document Relates To All Cases   )
  ___________________________________ )

   DEFENDANTS JOHNSON & JOHNSON AND JOHNSON & JOHNSON
      CONSUMER INC.’S REPLY TO THE PLAINTIFFS’ STEERING
    COMMITTEE’S SUPPLEMENTAL RESPONSE IN OPPOSITION TO
     JOHNSON & JOHNSON’S MOTION TO EXCLUDE PLAINTIFFS’
           EXPERTS GENERAL CAUSATION OPINIONS

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        Defendants make this submission in response to plaintiffs’ recent and

  belated supplement to their general causation briefing including a new affidavit by

  their expert Dr. Jack Siemiatycki. The defendants object to the plaintiffs’

  continuing submission of mini-sur reply briefs and new materials including now an

  expert affidavit supplementing his opinions.

        The latest submission by the plaintiffs misses a significant point on the

  disparity between Dr. Siemiatycki’s in-court and out-of-court opinions. The

  methodology the paper’s authors use to determine whether there is a relationship

  between shift work and ovarian cancer demonstrates the very same thing. If, as Dr.

  Siemiatycki claims, perineal talc use causes ovarian cancer, then one would expect

  the paper to control for this potential confounder. But talc use was not controlled

  for as a confounder, or even considered as a potential confounder, for purposes

  of the paper’s core analysis. See Ex. A to Siematycki Aff., Leung et al., Shift

  Work Patterns, Chronotype, and Epithelial Ovarian Cancer Risk, 28(5) Cancer

  Epidemiol. Biomarkers Prev. (2019) 987, 989 and Supplemental Figure 1 (“Leung

  2019”). The failure to control for talc is all the more glaring because Dr.

  Siemiatycki testified that the PROVAC study (from which the data in the Leung

  2019 paper is drawn) collected “very detailed” information on talc usage. Excerpts

  of the Deposition of Jack Siemiatycki, Oules v. Johnson & Johnson, No. 2014 CA

  088327 (D.C. Sup. Ct. Dec. 15, 2016) at 162:10-165:20, attached as Ex. 1 to the
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  Certification of Julie L. Tersigni (“Tersigni Cert.”). Moreover, Dr. Siemiatycki

  was one of the authors of the paper who contributed to the conception and design

  of the study and the development of the methodology. Leung 2019 at 994.

        In short, Dr. Siemiatycki is correct that the Leung 2019 article is “wholly

  unrelated to talcum powder products[.]” Siemiatycki Aff. ¶ 10. That’s just the

  point. The article is about ovarian cancer risk and talc is not mentioned once in

  contrast to his in-court opinions.

        Dated: July 18, 2019                  s/Susan M. Sharko
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